Case Information                                                                                   Page 1 of 4
  Case 3:04-cr-00007-RLY-CMM                   Document 58        Filed 04/15/04      Page 1 of 4 PageID #:
                                                     228

                         UNITED STATES DISTRICT COURT SOUTHERN INDIANA

USA -VS- HARTLEY, JIMMY DON                                                                  EV04-CR-0007-13-Y/H

                                                                     MAG CASE
       FILED             CLOSED         OFFENSE       NO. DEFTS                       JUDGE       MAGISTRATE
                                                                       NO.
     04/15/2004         10/21/2009        Felony           15          N/A            YOUNG         HUSSMANN


USA                                                         MATTHEW P BROOKMAN
plaintiff                                                   OFFICE OF THE U.S. ATTORNEY
                                                            101 NW M L KING BOULEVARD
                                                            SUITE 250
                                                            EVANSVILLE, IN 47708
                                                            (812)465-6475
V.
HARTLEY, JIMMY DON                                          IVAN ARNAEZ
defendant                                                   CLOUSE LAW OFFICES
                                                            123 NW 4TH STREET
                                                            SUITE 317
                                                            EVANSVILLE, IN 47708
                                                            (812)424-6671

      NO.              COUNTS                                  OFFENSE
1              1                      CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE
2              13                     USE COMMUNICATIONS FACILITY - CONTROLLED SUBSTANCE - DISTR.
3              14                     CONTROLLED SUBSTANCE - SELL, DISTRIBUTE, OR DISPENSE


     DATE                                                 PROCEEDINGS



    04/15/2004      INDICTMENT FILED eod 04/16/04 [SMD]

    04/15/2004      CRIM INFO SHEET eod 04/16/04 [SMD]

    04/15/2004      PRAECIPE for WARRANT eod 04/16/04 [SMD]

    04/16/2004      NGPL ORDER ASSIGNS JURY TRIAL to 06/14/04 at 09:00AM Room 301 (RLY) c/m eod 04/16/04
                    [SMD]

    04/19/2004      WARRANT ISSUED eod 04/19/04 [SMD]

    04/28/2004      MATTER UNSEALED on government's oral motion (RLY) eod 04/29/04 [SMD]

    04/29/2004      MOTION FOR SCHEDULING ORDER; cs-USA RLY eod 04/29/04 [TMD]

    08/17/2004      ORDER ASSIGNS CONF to 09/10/04 at 04:00PM Room 310 (RLY) c/m (Pretrial Conference) eod
Case Information                                                                                      Page 2 of 4
  Case 3:04-cr-00007-RLY-CMM                 Document 58          Filed 04/15/04         Page 2 of 4 PageID #:
                                                   229


              08/17/04 [SMD]

 09/14/2004   SUPERSEDING INDICTMENT eod 09/14/04 [SMD]

 09/14/2004   CRIM INFO SHEET eod 09/14/04 [SMD]

 09/14/2004   PRAECIPE for WARRANT eod 09/15/04 [SMD]

 09/15/2004   WARRANT ISSUED eod 09/15/04 [SMD]

 09/15/2004   NGPL ORDER ASSIGNS JURY TRIAL to 11/15/04 at 09:00AM Room 301 (RLY) c/m eod 09/15/04
              [SMD]

 09/21/2004   ENTRY ON PRETRIAL CONFERENCE HELD SEPTEMBER 10, 2004 - The parties appear by their
              respective counsel for the conference set by the court. The conference was commenced and concluded. A
              schedule was established by agreement of the parties and a trial date was set (SE); eod 09/21/04 [DLS]

 09/21/2004   ENTRY VACATES JURY TRIAL of 11/15/04 at 09:00AM Room 301 (RLY) c/m eod 09/21/04 [DLS]

 09/21/2004   ENTRY VACATES JURY TRIAL of 06/14/04 at 09:00AM Room 301 (RLY) c/m eod 09/21/04 [DLS]

 09/21/2004   ENTRY REASSIGNS JURY TRIAL to 01/10/05 at 09:00AM Room 301 (RLY) c/m RLY eod 09/21/04
              [DLS]

 09/29/2004   USM RETURN on original warrant - returned unexecuted due to Superseding Indictment issued 9/15/04
              eod 09/29/04 [SMD]

 12/14/2004   SUPERSEDING INDICTMENT (SECOND) eod 12/15/04 [SMD]

 12/14/2004   CRIM INFO SHEET eod 12/15/04 [SMD]

 12/14/2004   PRAECIPE for WARRANT eod 12/15/04 [SMD]

 12/16/2004   WARRANT ISSUED eod 12/16/04 [SMD]

 12/16/2004   NGPL ORDER ASSIGNS JURY TRIAL to 02/14/05 at 09:00AM Room 301 (RLY) c/m eod 12/16/04
              [SMD]

 12/17/2004   USM RETURN - returned unexecuted - 2nd superseding indictment issued 12/14/04 eod 12/17/04 [SMD]

 01/30/2009   RULE 40 IN from Southern District of Texas, Brownsville Division, deft arrested 1/22/09 eod 01/30/09
              [SMD]

 02/23/2009   INITIAL APPEARANCE ON INDICTMENT/INFORMATION (2nd superseding); eod 02/25/09 [TMD]

 02/23/2009   APPEARANCE FOR THE USA BY AUSA Matthew Brookman; eod 02/25/09 [TMD]

 02/23/2009   DEFT APPEARS IN PERSON AND submits a financial affidavit which is approved. Ivan Arnaez is
              appointed; eod 02/25/09 [TMD]

 02/23/2009   USPO Represented by Robert Decarli eod 02/25/09 [TMD]
Case Information                                                                                     Page 3 of 4
  Case 3:04-cr-00007-RLY-CMM                 Document 58          Filed 04/15/04        Page 3 of 4 PageID #:
                                                   230


 02/23/2009   CHARGES & RIGHTS and penalties explained; deft waives formal reading. USA requests detention and
              parties agree to hearing set 3/02/09; eod 02/25/09 [TMD]

 02/23/2009   COURTROOM MINUTES ASSIGNS HEARING to 03/02/09 at 10:30AM Room 335 (WGH) c/m
              (Probable cause and detention); eod 02/25/09 [TMD]

 02/23/2009   ORDER OF DETENTION (temp) pending hearing; eod 02/25/09 [TMD]

 03/02/2009   COURTROOM MINUTES for the detention hearing and PC hearing of deft. eod 03/04/09 [TMD]

 03/02/2009   APPEARANCE FOR THE USA BY AUSA Matthew Brookman eod 03/04/09 [TMD]

 03/02/2009   DEFT APPEARS IN PERSON AND by CJ counsel Ivan Arnaez; eod 03/04/09 [TMD]

 03/02/2009   Deft wishes to waive right to probable cause hearing and to detention hearing. Deft is DETAINED pending
              trial; WGH eod 03/04/09 [TMD]

 03/02/2009   ORDER OF DETENTION pending trial; cm WGH eod 03/04/09 [TMD]

 03/04/2009   USM RETURN - Warrant executed on 1/22/09 in Brownsville, Texas eod 03/04/09 [NRN]

 05/26/2009   ENTRY ASSIGNS GLTY PLEA HRG to 07/14/09 at 10:30AM Room 301 (RLY) c/m eod 05/26/09
              [SMD]

 07/14/2009   COURTROOM MINUTES FOR THE CHANGE OF PLEA OF THE DEFENDANT. eod 07/14/09 [DLS]

 07/14/2009   DEFT APPEARS IN PERSON AND BY COUNSEL IVAN ARNAEZ. eod 07/14/09 [DLS]

 07/14/2009   APPEARANCE FOR THE USA BY AUSA MATTHEW BROOKMAN. eod 07/14/09 [DLS]

 07/14/2009   USPO Represented by Katrina Sanders. eod 07/14/09 [DLS]

 07/14/2009   COURT FINDS factual basis for plea and plea voluntarily made. (Count 1 only) eod 07/14/09 [DLS]

 07/14/2009   COURT ACCEPTS plea agreement and ADJUDGES deft GUILTY as charged. (Count 1 only) eod
              07/14/09 [DLS]

 07/14/2009   ENTRY ASSIGNS SENTENCING DATE to 09/28/09 at 10:00AM Room 301 (RLY) c/m RLY eod
              07/14/09 [DLS]

 07/21/2009   INFORMATION PURSUANT TO 21:851 (A)(1) - PRIOR FELONY eod 07/21/09 [SMD]

 09/24/2009   ORDER VACATES SENTENCING DATE of 09/28/09 at 10:00AM Room 301 (RLY) c/m eod 09/24/09
              [TMD]

 09/24/2009   ORDER REASSIGNS SENTENCING DATE to 10/13/09 at 11:00AM Room 301 (RLY) c/m eod 09/24/09
              [TMD]

 10/13/2009   MOTION TO DISMISS counts 13 and 14 of the indictment; cs USA RLY eod 10/14/09 [TMD]

 10/13/2009   COURTROOM MINUTES for the sentencing hearing and on petition to revoke in EV00-12-CR-01. USA
Case Information                                                                                      Page 4 of 4
  Case 3:04-cr-00007-RLY-CMM                 Document 58           Filed 04/15/04        Page 4 of 4 PageID #:
                                                   231


              appears by AUSA Matthew Brookman. Deft appears in person and by counsel Ivan Arnaez. USPO by
              Robert DeCarli. Parties advise there are no matters in dispute re:PSR. USA filed motion to dismiss counts
              13 and 14. Motion is GRANTED. USA moves to dismiss revocation matters in EV00-12-CR-01. Motion is
              GRANTED. ; eod 10/14/09 [TMD]

 10/13/2009   SENTENCING HELD ; RLY eod 10/14/09 [TMD]

 10/20/2009   JUDGMENT ENTERED COUNT/FINDING: 1; IMPRISONMENT: 240 months; RECOMMENDATION:
              Defendant be incarcerated in a facility in Kentucky; and recommends defendant be evaluated for
              participation in the 500 hour drug treatment program; SUPERVISED RELEASE: 120 months; Standard &
              Special conditions of Supervision - See Judgment ASSESSMENT: $100.00; COUNT(S) DISMISSED: 13
              and 14 - RLY OBV 27 PG 13 eod 10/21/09 [SMD]

 12/02/2009   CJA VOUCHER # 091022000204 - approved by RLY 10/28/09 - to pay Ivan Arnaez in the amount of
              $3997.76; eod 12/02/09 [TMD]

 06/15/2010   TRANSCRIPT of Change of Plea Hearing held 7/14/09 - Court Reporter Judy Farris Mason eod 06/15/10
              [SMD]

 02/09/2015   ***CASE ADMINISTRATIVELY MOVED TO THE COURT'S CM/ECF SYSTEM UNDER THE
              SAME CAUSE NUMBER. NO FURTHER ENTRIES SHALL BE MADE IN JAMS.** eod 02/09/15 [JD]



USDC Southern Indiana -JAMS data-
